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                          EXHIBIT C-3
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                                                     LISTE DER GESELLSCHAFTER
                                                                     der
                                                     ECP Entwicklungsgesellschaft mbH
                                                  (Amtsgericht Charlottenburg, HRB 107164)




    Abiomed Europe GmbH             Aachen (AG Aachen HRB 13059)                                  100.000,00 Erworben aufgrund Kauf- und Abtretungsvertrag
                                                                                                             vom 01.07.2014 (UR-Nr. 522/2014 des Notars
                                                                                                             Dr. Oliver Habighorst, Frankfurt am Main)

    Total                                                                                         100.000,00



                                                       Bescheinigung gemäß§ 40 Abs. 2 GmbHG

                    Ich bescheinige hiermit, dass die geänderten Eintragungen in der vorstehenden Gesellschafterliste den Veränderungen
                    entsprechen, an denen ich als Notar gemäß Urkunde vom 1. Juli 2014 (UR Nr. 522/2014) mitgewirkt habe, und dass die
                    übrigen Eintragungen mit dem Inhalt der zuletzt im Handelsregister aufgenommenen Liste übereinstimmen.

                                                            Frankfurt am Main, den 1. Juli 2014




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                                                                  Frankfurt am Main, den 03.07.2014




Hiermit beglaubige ich die Übereinstimmung, der in dieser Datei enthaltenen Bilddaten (Abschrift)
mit dem mir vorliegenden Papierdokument (Urschrift).




Dr. Oliver Habighorst
Notar
